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                                 UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

Charlotte Loquasto, et al.                §
                                          §
                      Plaintiffs,         §     Civil Action No. 3:19-CV-01455-B
                                          §
vs.                                       §             (Consolidated with
                                          §     Civil Action No. 3:19-CV-01624-B)
Fluor Corporation, Inc., et al.           §
                                          §
                      Defendants.         §
.                                         §
__________________________________________________________________________

ALLIANCE PROJECT SERVICES, INC.’S JOINDER TO THE FLUOR DEFENDANTS’
     RESPONSE TO PLAINTIFFS’ OPPOSED MOTION FOR JURISDICTIONAL
             DISCOVERY AND EXTENSION OF TIME TO RESPOND
            REGARDING THE FLUOR DEFENDANTS’ RULE 12(H)(3)
        MOTION TO DISMISS UNDER POLITICAL QUESTION DOCTRINE
__________________________________________________________________________

        Defendant Alliance Project Services, Inc. (“APS”) joins the Response of Defendants Fluor

Corporation, Inc., Fluor Enterprises, Inc., Fluor Intercontinental, Inc., and Fluor Government

Group, Inc. (collectively, the “Fluor Defendants”) [Dkt. No. 33] to Plaintiffs’ Opposed Motion for

Jurisdictional Discovery and Extension of Time to Respond Regarding the Fluor Defendants’ Rule

12(h)(3) Motion to Dismiss under Political Question Doctrine [Dkt. No. 28] (“Plaintiffs’ Motion

for Jurisdictional Discovery”).

        For the reasons set forth in the Fluor Defendants’ Response, the Court should deny

Plaintiffs’ Motion for Jurisdictional Discovery.




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                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I certify that on this 8th day of October 2019, a true and correct copy of the foregoing
document was served on counsel of record for the parties in accordance with the Federal Rules of
Civil Procedure.

                                                     /s/ David Grant Crooks
                                                     David Grant Crooks




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